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Application GRANTED in part. The deadlines stated in Paragraphs 6 and 7
of Judge Maas' Order dated April 30, 2015 (Dkt. No. 142 in Kriss I, and Dkt.
No. 105 in Kriss II), are hereby STAYED. No later than May 14, 2015,
Counsel for Mr. Oberlander may file formal objections to those paragraphs,
in twelve-point double spaced Times New Roman font and not in excess of
15 pages. Any responses shall follow the same formatting and page
restrictions, and shall be filed no later than May 29, 2015. Any reply,
formatted in the same way and not to exceed 8 pages, shall be filed no later
than June 5, 2015.

The remaining deadlines in Judge Maas' April 30 Order remain in effect. All
future submissions must be filed on ECF in accordance with the Court's
Individual rules.

The Clerk of Court is directed to file this Order in 10 Civ. 3959 and 13 Civ.
3905.

Dated: May 1, 2015
      New York, New York
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